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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                             ELKINS DIVISION


 JESSICA TENNEY,                                )
                                                )
                               Plaintiff,       )   Case No.: 2:19-cv-00046-TSK
                                                )
                   v.                           )
                                                )
 RADIUS GLOBAL SOLUTIONS, LLC                   )
                                                )
                               Defendant.       )

             JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        Pursuant to FED.R.CIV.P. 41(a)(1)(A)(ii), Plaintiff, Jessica Tenney, and Defendant,

 Radius Global Solutions, LLC (“RGS”), hereby jointly stipulate to the dismissal with

 prejudice of all claims in this action, with each side to bear their own fees and costs.

                                            Respectfully submitted,

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